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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

E.G., individually and as parent and natural guardian                 )
         of A.I. and L.I., minor children et al.                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
    THE CITY OF NEW YORK; NEW YORK CITY                               )
   DEPARTMENT OF EDUCATION; RICHARD A.                                )
   CARRANZA, as Chancellor of the New York City                       )
          Department of Education; et al.                             )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Grant R. Mainland (Milbank LLP)
                                           55 Hudson Yards, 33rd Floor, New York, NY 10001

                                           Susan J. Horwitz (The Legal Aid Society)
                                           199 Water Street, New York, NY 10038


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                  SUMMONS RIDER

The City of New York
C/O CORPORATION COUNSEL OF THE CITY OF NEW YORK
100 CHURCH STREET
NEW YORK, NY 10007

New York City Department of Education
52 CHAMBERS STREET
NEW YORK, NY 10007

Richard A. Carranza
NEW YORK CITY DEPARTMENT OF EDUCATION
52 CHAMBERS STREET
NEW YORK, NY 10007

New York City Department of Social Services
150 GREENWICH STREET
NEW YORK, NY 10007

Steven Banks
NEW YORK CITY DEPARTMENT OF SOCIAL SERVICES
150 GREENWICH STREET
NEW YORK, NY 10007

New York City Department of Homeless Services
33 BEAVER STREET, 17TH FL.
NEW YORK, NY 10004

Joslyn Carter
NEW YORK CITY DEPARTMENT OF HOMELESS SERVICES
33 BEAVER STREET, 17TH FL.
NEW YORK, NY 10004

New York City Human Resources Administration
4 WORLD TRADE CENTER
150 GREENWICH STREET, 38TH FL.
NEW YORK, NY 10007

Gary Jenkins
NEW YORK CITY HUMAN RESOURCES ADMINISTRATION
4 WORLD TRADE CENTER
150 GREENWICH STREET, 38TH FL.
NEW YORK, NY 10007
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New York City Department of Information Technology and Telecommunications
255 GREENWICH STREET, 9TH FL.
NEW YORK, NY 10007

Jessica Tisch
NEW YORK CITY DEPARTMENT OF INFORMATION TECHNOLOGY AND
TELECOMMUNICATIONS
255 GREENWICH STREET
NEW YORK, NY 10007




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